      Case 1:15-cv-05345-JGK-KHP Document 552 Filed 02/21/18 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CITY OF ALMATY, KAZAKHSTAN and BTA
 BANKJSC,
                                                               l 5-CV-05345 (AJN)

                                 Crossclaim Plaintiffs,       MOTION FOR ADMISSION
                                                                  PROHACVICE
                   - against -

 MUKHTARABLYAZOV, VIKTOR
 KHRAPUNOV, ILYAS KHRAPUNOV, and
 TRIADOU SPV S.A.,

                                 Crossclaim Defendants.



      Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York ("Local Rule 1.3"), Eugene G. Illovsky hereby moves this Court

for an Order for admission to practice Pro Hae Vice to appear for Gennady Petelin and Elena

Petelina who are non-parties in the above-captioned action.

      I am a member in good standing of the bars of the State of California and the District of

Columbia and an inactive member of the Bar in the Commonwealth of Pennsylvania with no

disciplinary history. There are no pending disciplinary proceedings against me in any state or

federal court.

      I have never been convicted of a felony. I have never been censured, suspended, disbarred

or denied admission or readmission by any court.
     Case 1:15-cv-05345-JGK-KHP Document 552 Filed 02/21/18 Page 2 of 2



         I submit concurrently herewith the affidavit required pursuant to Local Rule 1.3.



Dated:                                         Respectfully submitted,
February 20, 2018                              Eugene G. Illovsky
                                                                    i<.-;.1.y"v· 1.'b'o~,:__,_L..<:.l,.L=-JL,y<--"-,#---.
                                               Applicant Signature :.r:?.
                                               Applicant's Name: Eugene G. Illovsky
                                               Firm Name: Illovsky Law Office
                                               Address:        1611 Telegraph Avenue, Suite 806,
                                                                  Oakland, CA 94612

                                               Telephone: (510) 394-5885
                                               Email: eugene@illovskylaw.com




                                                    2
